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                       UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                         CIVIL ACTION
YALE UNIVERSITY, ANGELA GLEASON,                         No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



             MOTION FOR PERMISSION TO FILE OVER-LENGTH BRIEF

       The plaintiff, Jack Montague, respectfully moves, pursuant to Rule 7(a)(5) of the Local

Civil Rules, for permission to file an Opposition to Defendants’ Motion for Summary Judgment

(ECF No. 142) in excess of forty pages. Additional pages are required to adequately respond to

Defendants’ memorandum of law in support of their motion, which is 55 pages in length.

Defendants’ counsel has indicated that Defendants do not object to the request.

       WHEREFORE, the plaintiff respectfully requests permission to file a brief of

approximately 55 pages in opposition to Defendants’ Motion for Summary Judgment.



                                            JACK MONTAGUE,
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                                            By his attorneys,


                                            /s/ Christian G. Kiely
                                            Max D. Stern (BBO #479560) (pro hac vice)
                                            mstern@toddweld.com
                                            Alexandra H. Deal (BBO #660654) (pro hac vice)
                                            adeal@toddweld.com
                                            Christian G. Kiely (BBO #684308) (pro hac vice)
                                            ckiely@toddweld.com
                                            TODD & WELD LLP
                                            One Federal St., 27th Floor
                                            Boston, MA 01880
                                            Tel. (617) 720-2626
                                            Fax (617) 227-5777

                                            William F. Dow III (ct00161)
                                            JACOBS & DOW, LLC
                                            350 Orange Street
                                            New Haven, CT 06511
                                            wdow@jacobslaw.com
                                            Tel. (203) 772-3100
                                            Fax (203) 772-1691


Dated: July 10, 2018




                             CERTIFICATE OF SERVICE

  I, Christian G. Kiely, hereby certify that this document filed through the ECF system will be
  sent electronically to the registered participants as identified on the Notice of Electronic
  Filing (NEF) on July 10, 2018.

                                               /s/ Christian G. Kiely



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